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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                  Case No.: 3:07cr58/MCR
                                                              3:10cv201/MCR/MD
DAVID LEE SCHIMMEL,
      Defendant/Petitioner.
_________________________________/


                       NOTICE OF CORRECTION OF CITED AUTHORITY

       COMES NOW Defendant/Petitioner, by and through undersigned counsel, and hereby

submits the following correct authority regarding when a judgment of conviction becomes final

for calculation of the AEDPA's one-year limitations period for federal habeas review, which

includes motions to vacate sentence under 28 U.S.C. §§ 2255, and states as follows:

1.     The correct case cite is Adams v. U.S., 173 F.3d 1339 (11th Cir., 2001), which states that

       a "judgment of conviction becomes final" for the purposes of the AEDPA's one-year

       limitations period upon the issuance of the appellate court's mandate.

2.     This authority bears directly on an issue presented by Defendant/Petitioner and may not

       support his position that the one-year limitations period should be calculated from entry

       of the mandate in the district court’s docket and adjusted for service by mail under Fed.

       R. Civ. P. 6.

                                RULE 7.1(B) CERTIFICATION

       Not required.
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court
on this the 15th day of February, 2011, using the CM/ECF system, which will send notification of
such filing to The Office of the United States Attorney, 21 E. Garden Street, Suite 400,
Pensacola, Florida, 32501, and Assistant United States Attorney Edwin F. Knight.

                                            Respectfully submitted,

                                            s/Bert Oram
                                            _______________________
                                            BERT ORAM
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